      Case 1:18-cr-00031-SPW-TJC Document 23 Filed 02/15/19 Page 1 of 3



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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,                           CR-18-31-BLG-SPW

                Plaintiff,
                                                DEFENDANT’S NOTICE OF
 v.                                              CONVENTIONAL FILING

 STEVEN WAYNE PHILLIPS,

               Defendant.

      Please take notice that Defendant Steven Wayne Phillips has conventionally

filed Exhibit B in this case. The Exhibit is not available in electronic form. The

Exhibit has not been filed electronically because:

             scanning is not practicable;

             the electronic file exceeds megabytes in size;

             the filing is under seal;

             the document contains original signatures;
                                            1
Case 1:18-cr-00031-SPW-TJC Document 23 Filed 02/15/19 Page 2 of 3



 X    it is a Compact Disc;

      a court order excuses conventional filing;

      the filing is exempted under Local rule 7.1(L)(1)(B);

      the filer experienced the following technical difficulties as shown by the

      attached documentation.

RESPECTFULLY SUBMITTED this 15th day of February, 2019.

                                /s/ Gillian Gosch
                                GILLIAN E. GOSCH
                                Assistant Federal Defender
                                Counsel for Defendant




                                   2
         Case 1:18-cr-00031-SPW-TJC Document 23 Filed 02/15/19 Page 3 of 3



                           CERTIFICATE OF SERVICE
                                  L.R. 5.2(b)

         I hereby certify that on February 15, 2019, a copy of the foregoing document

was served on the following persons by the following means:

     1         CM-ECF

               Hand Delivery

               Mail

1.       CLERK, UNITED STATES DISTRICT COURT

1.       THOMAS GODFREY
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                                        /s/ Gillian Gosch
                                        FEDERAL DEFENDERS OF MONTANA




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